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                                     UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF PENNSYLVANIA
  ------------------------------------------------------ x
                                                         :
BEN ROOD, on behalf of himself and all                   :
others similarly situated,                               :
                                                         :
                       Plaintiff,                        : Civil Action No. 2:17-1223 NR
                                                         :
                            v.                           :
                                                         : Electronically Filed
R&R EXPRESS, INC.,                                       :
                                                         :
                      Defendant.                         :
                                                         :
                                                         :
                                                         :
  ------------------------------------------------------ x

                                  Plaintiff’s Unopposed Motion for
                       Final Approval of the Class Action Settlement Agreement

             And Now Comes Named Plaintiff Ben Rood, by and through his undersigned counsel, and

   files this Unopposed Motion for Final Approval of the Class Action Settlement Agreement in this

   matter.

             The Parties have reached a settlement, have executed a Settlement Agreement (See ECF

   No. 160-1), and have completed notice and the other steps required in the Settlement Agreement

   and this Court’s Preliminary Approval Order (ECF No. 162). Therefore, Plaintiff requests entry

   of the proposed Final Approval Order attached hereto approving the Settlement Agreement and

   dismissing the civil action with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil

   Procedure.

             Wherefore, and for the reasons stated in the accompanying memorandum of law, Plaintiff

   respectfully requests entry of the proposed Final Approval Order.
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Dated: September 1, 2022
       Pittsburgh, PA

                                   By:    s/ Joseph H. Chivers

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                                          Counsel for Plaintiff
                                          and all others similarly situated




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